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NORTHERN DISTRICT OF TEXAS

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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION FEB - 9 201}

ARTHUR CARSON CHEEK, U.S. DISTRIC h COURT

Deputy

 

 

 

 

 

 

VS. NO.3: 11-CV-0139-B

DANA ARNETTE, ET AL.,

PLAINTIFF’S ANSWER TO MAGISTRATE JUDGE QUESTIONAIRE

TO: HONORABLE MAGISTRATE JUDGE JEFF KAPLAN

COMES NOW THE PLAINTIEF, Arthur Carson, and brings this His Answers attached here with;

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QUESTION NO. 1: Please state, as specifically as possible, each claim you are asserting
in this suit. For each claim,

a) identify the statute or case law basis under which you are suing;

b) briefly provide the underlying facts;

c) state specifically how you were harmed;

d) identify the defendant(s) responsible;

e) state the date the defendant(s) acted; and

f) state the date you became aware of the actions of the defendant(s).
ANSWER:
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QUESTION NO. 2: Please identify the relief that you are seeking in this lawsuit, that is,
the result you are trying to achieve with this suit. If you would like this court to take action in some
way, please describe specifically what you are asking this court to do. If you are seeking monetary
damages, please state the amount of monetary damages (in United States dollars and cents) you are
seeking.

ANSWER:

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QUESTION NO. 3: Why does a federal court have subject matter jurisdiction in this case
(that is, why does a federal district court have the authority to hear this type of case)?

ANSWER:
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QUESTION NO. 4: Are you claiming that the Dallas Housing Authority and its
representatives improperly denied your application for Section 8 housing? If so, please explain why
you believe there is a private right of action against the DHA and its employees in federal court. See |
generally, Rodgers v. Garland Housing Agency, No. 3-01-CV-0477-H, 2001 WL 1029516 at *3
(N.D. Tex. Aug. 21, 2001) (citing cases).

ANSWER:

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QUESTION NO. 5: Are you claiming that the denial of housing assistance is a violation of
the Rehabilitation Act of 1973, 29 U.S.C. § 794? If so, please state:

a) what disability you claim;

b) how that disability substantially limits a major life activity; and

c) why you believe your exclusion from the Section 8 program is due to your disability.

ANSWER:

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QUESTION NO. 6: You appear to claim that you were denied certain due process rights in
connection with your request for housing assistance. What due process rights do you believe you
were denied? Were you provided any opportunity to challenge the DHA's decision? Please explain.
ANSWER:
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QUESTION NO. 7: You assert that jurisdiction is conferred by 28 U.S.C. § 1343(a)(3) &
(4). Please provide facts to support the following elements required to establish a cause of action
under 42 U.S.C. § 1985: a) a conspiracy by the defendants; b) with a purpose of depriving the
plaintiff of equal protection of the laws or equal privileges and immunities under the law; c) a
purposeful intent to discriminate; 4) action by the defendants under color of state law or authority;
and 5) injury to the person or property of the plaintiff or his deprivation of a right or privilege as a
citizen of the United States resulting from actions in furtherance of the conspiracy.
ANSWER:
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SD STATES MAGISTRATE JUDGE
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STATE OF TEXAS

COUNTY OF

VERIFICATION
T understand that a false statement or answer to any interrogatories in this cause of action will
subject me to penalties for perjury. I declare (or certify, verify or state) under penalty of perjury that

the foregoing answers are true and correct (28 U.S.C. § 1746).

 

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SIGNED on this_’/t ‘. day of FE bit VAY) , 2011.

Cit. (rte

(Signature of Plaintiff)

 

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